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LEE LITIGATION GROUP, PLLC
C.K. Lee (CL 4086)
Anne Seelig (AS 3976)
30 East 39th Street, Second Floor
New York, NY 10016
Tel.: (212) 465-1188
Fax: (212) 465-1181
Attorneys for Plaintiff, FLSA Collective
Plaintiffs and the Class

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


VIDAL BALDERAS,
on behalf of himself, FLSA Collective Plaintiffs
and the Class,

                              Plaintiff,                   Case No.: 18-cv-11149

       v.                                                  CLASS AND COLLECTIVE
                                                           ACTION COMPLAINT
8 CHELSEA CORP.
      d/b/a RIKO PERUVIAN CUISINE,                         Jury Trial Demanded
JAMAICA 153 CORP.
      d/b/a RIKO PERUVIAN CUISINE,
APU FOODS CORPORATION
      d/b/a RIKO PERUVIAN CUISINE,
JACKSON 79 CORP.
      d/b/a RIKO PERUVIAN CUISINE,
44 SUNNYSIDE CORP.
      d/b/a RIKO EXPRESS CAFÉ,
WALTER BURGOS and JESSENIA BURGOS,

                              Defendants.



       Plaintiff, VIDAL BALDERAS (“Plaintiff”), on behalf of himself and others similarly

situated, by and through his undersigned attorneys, hereby files this Class and Collective Action

Complaint against Defendants, 8 CHELSEA CORP. d/b/a RIKO PERUVIAN CUISINE,

JAMAICA 153 CORP. d/b/a RIKO PERUVIAN CUISINE, APU FOODS CORPORATION




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d/b/a RIKO PERUVIAN CUISINE, JACKSON 79 CORP. d/b/a RIKO PERUVIAN CUISINE,

44 SUNNYSIDE CORP. d/b/a RIKO EXPRESS CAFÉ (collectively, “Corporate Defendants”),

WALTER BURGOS and JESSENIA BURGOS (collectively, “Individual Defendants,” and

together with Corporate Defendants, “Defendants”), and states as follows:

                                          INTRODUCTION

       1.          Plaintiff alleges, pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C.

§§ 201 et seq. (“FLSA”), that he and others similarly situated are entitled to recover from

Defendants: (1) unpaid overtime wage, (3) liquidated damages and (3) attorneys’ fees and costs.

       2.          Plaintiff further alleges, pursuant to the New York Labor Law (“NYLL”), that he

and others similarly situated are entitled to recover from Defendants: (1) unpaid overtime wage,

(2) unpaid minimum wage, (3) liquidated damages, (4) statutory penalties and (5) attorneys’ fees

and costs.

                                   JURISDICTION AND VENUE

       3.          This Court has jurisdiction over this controversy pursuant to 29 U.S.C. § 216(b),

28 U.S.C. §§ 1331, 1337 and 1343, and has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367.

       4.          Venue is proper in the Southern District pursuant to 28 U.S.C. § 1391.

                                               PARTIES

       5.          Plaintiff VIDAL BALDERAS is a resident of New York County, New York.

       6.          Defendants own and operate a chain of five (5) restaurants under the common

trade name “Riko Peruvian Cuisine” with addresses as follows:

             (a)   409 8th Avenue, New York, NY 10001 (“Riko Chelsea”);
             (b)   153-37 Hillside Avenue, Jamaica, NY 11432 (“Riko Jamaica”);
             (c)   45-23 Greenpoint Avenue, Sunnyside, NY 11104 (“Riko Sunnyside”);
             (d)   78-14 Roosevelt Avenue, Jackson Heights, NY 11372 (“Riko Jackson Heights”);



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             (e) 43-22 Queens Boulevard, Sunnyside, NY 11104 (“Riko Express Café”)

                (collectively, “Riko Restaurants”).

       7.       Defendants operate Riko Restaurants as a single integrated enterprise.

Specifically, Riko Restaurants are engaged in related activities, share common ownership and

have a common business purpose. Riko Restaurants are engaged in the same business of

operating Peruvian restaurants in New York City. Riko Restaurants are commonly owned and

operated by Individual Defendants. Riko Restaurants share a common trade name and logo,

share a common décor and appearance, and serve similar menu items. Riko Restaurants are

advertised and marketed jointly on Defendants’ website (http://www.rikoperuviancuisine.com/)

and the same social media account on Instagram. Defendants sell gift cards that can be used at

any Riko Restaurant location. Riko Restaurants maintain centralized labor relations and human

resources, and implement the same wage and hour policies and procedures established by

Defendants. Supplies and employees are interchangeable among Riko Restaurants. Hiring for

Riko Restaurants is centrally managed and applicants can apply for a job at any of the restaurant

locations on Defendants’ website.

       8.       Corporate Defendant 8 CHELSEA CORP. d/b/a RIKO PERUVIAN CUISINE is

a domestic business corporation organized under the laws of the State of New York, with a

principal place of business and an address for service of process located at 409 8th Avenue, New

York, NY 10001. Defendants operate “Riko Chelsea” through 8 CHELSEA CORP.

       9.       Corporate Defendant JAMAICA 153 CORP. d/b/a RIKO PERUVIAN CUISINE

is a domestic business corporation organized under the laws of the State of New York, with a

principal place of business and an address for service of process located at 153-37 Hillside

Avenue, Jamaica, NY 11432. Defendants operate “Riko Jamaica” through JAMAICA 153 CORP.




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       10.    Corporate Defendant APU FOODS CORPORATION d/b/a RIKO PERUVIAN

CUISINE is a domestic business corporation organized under the laws of the State of New York,

with a principal place of business located at 45-23 Greenpoint Avenue, Sunnyside, NY 11104

and an address for service of process located at 3564 80th Street, Apt 3K, Jackson Heights, NY

11372. Defendants operate “Riko Sunnyside” through APU FOODS CORPORATION.

       11.    Corporate Defendant JACKSON 79 CORP. d/b/a RIKO PERUVIAN CUISINE is

a domestic business corporation organized under the laws of the State of New York, with a

principal place of business and an address for service of process located at 78-14 Roosevelt

Avenue, Jackson Heights, NY 11372. Defendants operate “Riko Jackson Heights” through

JACKSON 79 CORP.

       12.    Corporate Defendant 44 SUNNYSIDE CORP. d/b/a RIKO EXPRESS CAFÉ is a

domestic business corporation organized under the laws of the State of New York, with a

principal place of business and an address for service of process located at 43-22 Queens

Boulevard, Sunnyside, NY 11104. Defendants operate “Riko Express Café” through 44

SUNNYSIDE CORP.

       13.    (i) Each Individual Defendant, WALTER BURGOS and JESSENIA BURGOS, is

a principal and executive officer of Corporate Defendants and has operational control of Riko

Restaurants. Each Individual Defendant exercises the power to (and also delegate to managers

and supervisors the power to) (i) fire and hire employees, (ii) supervise and control employee

work schedules, (iii) determine the rate and method of pay, (iv) maintain employment records,

and (v) otherwise affect the quality, terms and conditions of employment for Plaintiff, FLSA

Collective Plaintiffs and Class Members at Riko Restaurants. Each Individual Defendant has




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authority over all employee-related decisions, including payroll, personnel, and wage and hour

policies concerning Plaintiff, FLSA Collective Plaintiffs and Class Members.

                (ii) Each Individual Defendant, WALTER BURGOS and JESSENIA BURGOS,

additionally exercises the authority to fire and hire, supervise and control work schedules,

determine rate and method of pay, maintain employment records, and otherwise affect the terms

and conditions of employment for managerial employees who directly supervise Plaintiff, FLSA

Collective Plaintiffs and Class Members at Riko Restaurants. Each Individual Defendant ensures

that managers implement Defendants’ employment policies and pay practices and directs

employees to effectively complete their job duties so that Riko Restaurants are operating

efficiently and profitably.

        14.     At all relevant times, each of the Corporate Defendants was and continues to be

an “enterprise engaged in commerce” within the meaning of the FLSA and NYLL and the

regulations thereunder.

        15.     At all relevant times, the work performed by Plaintiff, FLSA Collective Plaintiffs

and Class Members was directly essential to the business operated by Defendants.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

        16.     Plaintiff brings claims for relief as a collective action pursuant to FLSA Section

16(b), 29 U.S.C. § 216(b), on behalf of all non-exempt employees (including but not limited to

cooks, line cooks, food preparers, dishwashers, porters, hosts/hostesses, servers, runners, bussers

and delivery workers) employed by Defendants at Riko Restaurants on or after the date that is six

(6) years before the filing of the Complaint in this case as defined herein (“FLSA Collective

Plaintiffs”).




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       17.     At all relevant times, Plaintiff and FLSA Collective Plaintiffs are and have been

similarly situated, have had substantially similar job requirements and pay provisions, and are

and have been subjected to Defendants’ decisions, policies, plans, programs, practices,

procedures, protocols, routines, and rules, all culminating in a willful failure and refusal to pay

them the lawful overtime wages for hours worked in excess of forty (40) per workweek at the

proper overtime rate of one-and-one-half times the regular rate of pay.

       18.     The claims for relief are properly brought under and maintained as an opt-in

collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b). The FLSA

Collective Plaintiffs are readily ascertainable. For purposes of notice and other purposes related

to this action, their names and addresses are readily available from Defendants. Notice can be

provided to the FLSA Collective Plaintiffs via first class mail to the last address known to

Defendants.

                     RULE 23 CLASS ALLEGATIONS – NEW YORK

       19.     Plaintiff brings claims for relief pursuant to the Federal Rules of Civil Procedure

(“F.R.C.P.”) Rule 23, on behalf of all non-exempt employees (including but not limited to cooks,

line cooks, food preparers, dishwashers, porters, hosts/hostesses, servers, runners, bussers and

delivery workers) employed by Defendants at Riko Restaurants on or after the date that is six (6)

years before the filing of the Complaint in this case as defined herein (the “Class” or “Class

Members”).

       20.     The Class Members are readily ascertainable. The number and identity of the

Class Members are determinable from the records of Defendants. The hours assigned and

worked, the position held, and rates of pay for each Class Member are also determinable from

Defendants’ records. For purposes of notice and other purposes related to this action, their names




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and addresses are readily available from Defendants. Notice can be provided by means

permissible under F.R.C.P. 23.

       21.     The proposed Class is so numerous that a joinder of all members is impracticable,

and the disposition of their claims as a class will benefit the parties and the Court. Although the

precise number of such persons is unknown, the facts on which the calculation of that number

are presently within the sole control of Defendants, there is no doubt that there are more than

forty (40) members of the Class.

       22.     Plaintiff’s claims are typical of those claims, which could be alleged by any

member of the Class, and the relief sought is typical of the relief, which would be sought by each

member of the Class in separate actions. All Class Members were subject to the same corporate

practices of Defendants, as alleged herein, of (i) failing to pay them the lawful minimum wage,

(ii) failing to pay them overtime wages for hours worked in excess of forty (40) per workweek at

the proper overtime rate of one-and-one-half times the regular rate of pay, (iii) failing to provide

proper wage statements per requirements of the New York Labor Law, and (iv) failing to provide

proper wage and hour notices per requirements of the New York Labor Law. Defendants’

corporate-wide policies and practices affected all Class Members similarly, and Defendants

benefited from the same type of unfair and/or wrongful acts as to each Class Member. Plaintiff

and Class Members sustained similar losses, injuries and damages arising from the same

unlawful policies, practices and procedures.

       23.     Plaintiff is able to fairly and adequately protect the interests of the Class and has

no interests antagonistic to the Class. Plaintiff is represented by attorneys who are experienced

and competent in both class action litigation and employment litigation and have previously

represented plaintiffs in wage and hour cases.




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       24.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of the wage and hour litigation

where individual class members lack the financial resources to vigorously prosecute a lawsuit

against a corporate defendant. Class action treatment will permit a large number of similarly

situated persons to prosecute common claims in a single forum simultaneously, efficiently, and

without the unnecessary duplication of efforts and expense that numerous individual actions

engender. Because losses, injuries and damages suffered by each of the individual Class

members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual Class

members to redress the wrongs done to them. On the other hand, important public interests will

be served by addressing the matter as a class action. The adjudication of individual litigation

claims would result in a great expenditure of Court and public resources; however, treating the

claims as a class action would result in a significant saving of these costs. The prosecution of

separate actions by individual members of the Class would create a risk of inconsistent and/or

varying adjudications with respect to the individual members of the Class, establishing

incompatible standards of conduct for Defendants and resulting in the impairment of class

members’ rights and the disposition of their interests through actions to which they were not

parties. The issues in this action can be decided by means of common, class-wide proof. In

addition, if appropriate, the Court can, and is empowered to, fashion methods to efficiently

manage this action as a class action.

       25.     Defendants and other employers throughout the state violate the New York Labor

Law. Current employees are often afraid to assert their rights out of fear of direct or indirect

retaliation. Former employees are fearful of bringing claims because doing so can harm their




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employment, future employment, and future efforts to secure employment. Class actions provide

class members who are not named in the Complaint a degree of anonymity, which allows for the

vindication of their rights while eliminating or reducing these risks.

       26.     There are questions of law and fact common to the Class which predominate over

any questions affecting only individual class members, including:

               a) Whether Defendants employed Plaintiff and the Class Members within the
                  meaning of the NYLL;

               b) What are and were the policies, practices, programs, procedures, protocols and
                  plans of Defendants regarding the types of work and labor for which
                  Defendants did not pay Plaintiff and the Class Members properly;

               c) At what common rate, or rates subject to common methods of calculation,
                  were and are Defendants required to pay Plaintiff and the Class Members for
                  their work;

               d) Whether Defendants properly notified Plaintiff and the Class Members of
                  their regular hourly rate and overtime rate;

               e) Whether Defendants improperly paid Plaintiff and Class members on a fixed
                  salary basis, when New York law requires that all non-exempt employees be
                  paid on an hourly basis;

               f) Whether Defendants paid Plaintiff and the Class Members the statutory
                  minimum wage;

               g) Whether Defendants paid Plaintiff and the Class Members overtime wages at
                  a proper rate that is at least one-and-one-half times the regular rate of pay;

               h) Whether Defendants provided proper wage statements to Plaintiff and the
                  Class Members per requirements of the NYLL; and

               i) Whether Defendants provided proper wage and hour notices to Plaintiff and
                  the Class Members per requirements of the NYLL.

                                   STATEMENT OF FACTS

       27.     From in or about March 2018 until on or about September 9, 2018, Plaintiff

VIDAL BALDERAS was employed by Defendants to work as a dishwasher at “Riko Chelsea”

located at 409 8th Avenue, New York, NY 10001.



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        28.     Throughout his employment with Defendants, Plaintiff VIDAL BALDERAS

regularly worked forty-eight (48) hours per week: eight (8) hours per day, from 7:30 a.m. to 3:30

p.m., for six (6) days per week.

        29.     Throughout his employment with Defendants, Plaintiff VIDAL BALDERAS was

paid a fixed salary of $75 per work day regardless of actual hours worked. However, there was

never any understanding that the fixed salary was intended to cover any overtime hours worked

by Plaintiff.

        30.     Throughout his employment with Defendants, Plaintiff VIDAL BALDERAS was

never paid the overtime premium of one-and-one-half times his regular rate of pay for his hours

worked in excess of forty (40) per week, as required under the FLSA and NYLL.

        31.     Throughout his employment with Defendants, Plaintiff VIDAL BALDERAS was

paid in cash and did not receive any wage statements from Defendants.

        32.     Throughout his employment with Defendants, Plaintiff VIDAL BALDERAS did

not receive a notice of pay rate from Defendants as required under the NYLL.

        33.     Throughout his employment with Defendants, Plaintiff VIDAL BALDERAS

regularly observed and spoke their co-workers about Defendants’ pay practices and policies.

        34.     Based on Plaintiff’s direct observations and conversations with his co-workers,

non-exempt employees were regularly sent to work at any of the different Riko Restaurants on

an as-needed basis.

        35.     Based on Plaintiff’s direct observations and conversations with his co-workers, all

non-exempt employees at Riko Restaurants regularly worked similar hours that exceeded forty

(40) hours per week.




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        36.   Based on Plaintiff’s direct observations and conversations with his co-workers, all

non-exempt employees at Riko Restaurants similarly suffered from Defendants’ common policy

that failed to pay the overtime premium due under the FLSA and NYLL. Under Defendants’

companywide policy, all non-exempt employees at Riko Restaurants were paid at a fixed salary

basis without any understanding that the fixed salary was intended to cover the overtime hours

worked. They were never paid at the proper overtime rate of one-and-one-half times their base

hourly rate for their hours worked in excess of forty (40) per workweek.

        37.   Based on Plaintiff’s direct observations and conversations with his co-workers, all

non-exempt employees at Riko Restaurants similarly suffered from Defendants’ common policy

that failed to pay the New York State minimum wage. At all relevant times, Defendants paid

Plaintiff and other non-exempt employees at regular rates below the prevailing minimum wage

in violation of the NYLL.

        38.   Based on Plaintiff’s direct observations and conversations with his co-workers, all

non-exempt employees at Riko Restaurants similarly suffered from Defendants’ common policy

that failed to provide any notice of pay rate or wage statements, as required under the NYLL.

        39.   Defendants knowingly and willfully operated their business with a policy of not

paying Plaintiff, FLSA Collective Plaintiffs and Class Members overtime wages for hours

worked in excess of forty (40) per workweek at the proper overtime rate that is at least one-and-

one-half times the regular rate of pay, in violation of the FLSA and NYLL.

        40.   Defendants knowingly and willfully operated their business with a policy of not

paying the New York State minimum wage to Plaintiff and Class Members, in violation of the

NYLL.




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        41.     Defendants knowingly and willfully operated their business with a policy of not

providing wages statements to Plaintiff and Class Members with their wage payments, as

required under the NYLL.

        42.     Defendants knowingly and willfully operated their business with a policy of not

providing proper wage and hour notice to Plaintiff and Class Members, as required under the

NYLL.

        43.     Plaintiff retained Lee Litigation Group, PLLC to represent Plaintiff, FLSA

Collective Plaintiffs and the Class, in this litigation and has agreed to pay the firm a reasonable

fee for its services.

                                   STATEMENT OF CLAIM

                                             COUNT I

                   VIOLATION OF THE FAIR LABOR STANDARDS ACT

        44.     Plaintiff realleges and reavers Paragraphs 1 through 43 of this Class and

Collective Action Complaint as if fully set forth herein.

        45.     At all relevant times, Defendants were and continue to be employers engaged in

interstate commerce and/or the production of goods for commerce within the meaning of the

FLSA, 29 U.S.C. §§ 206(a) and 207(a). Further, Plaintiff and FLSA Collective Plaintiffs are

covered individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

        46.     At all relevant times, Defendants employed Plaintiff and FLSA Collective

Plaintiffs within the meaning of the FLSA.

        47.     At all relevant times, Corporate Defendants had gross annual revenues in excess

of $500,000.




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       48.     At all relevant times, Defendants had a policy and practice of failing to pay

Plaintiff and FLSA Collective Plaintiffs overtime wages for hours worked in excess of forty (40)

per workweek at the proper overtime rate of one-and-one-half times the regular rate of pay, as

required under the FLSA.

       49.     Records, if any, concerning the number of hours worked by Plaintiff and FLSA

Collective Plaintiffs and the actual compensation paid to Plaintiff and FLSA Collective Plaintiffs

should be in the possession and custody of Defendants. Plaintiff intends to obtain these records

by appropriate discovery proceedings to be taken promptly in this case and, if necessary, will

then seek leave of Court to amend this Complaint to set forth the precise amount due.

       50.     Defendants knew of and/or showed a willful disregard for the provisions of the

FLSA as evidenced by their failure to compensate Plaintiff and FLSA Collective Plaintiffs for all

hours worked, including overtime hours, when Defendants knew or should have known such was

due.

       51.     Defendants failed to properly disclose or apprise Plaintiff and FLSA Collective

Plaintiffs of their rights under the FLSA.

       52.     As a direct and proximate result of Defendants’ willful disregard of the FLSA,

Plaintiff and FLSA Collective Plaintiffs are entitled to liquidated (i.e. double) damages pursuant

to the FLSA.

       53.     Due to the intentional, willful and unlawful acts of Defendants, Plaintiff and

FLSA Collective Plaintiffs suffered damages in an amount not presently ascertainable of unpaid

overtime wages, plus an equal amount as liquidated damages.

       54.     Plaintiff and FLSA Collective Plaintiffs are entitled to an award of their

reasonable attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b).




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                                            COUNT II

                     VIOLATION OF THE NEW YORK LABOR LAW

       55.     Plaintiff realleges and reavers Paragraphs 1 through 54 of this Class and

Collective Action Complaint as if fully set forth herein.

       56.     At all relevant times, Plaintiff and Class Members were employed by Defendants

within the meaning of the New York Labor Law §§ 2 and 651.

       57.     Defendants knowingly and willfully violated Plaintiff’s and Class Members’

rights by failing to pay them overtime wages for hours worked in excess of forty (40) per

workweek at the proper overtime rate of one-and-one-half times the regular rate of pay, as

required under the New York Labor Law.

       58.     Defendants knowingly and willfully violated Plaintiff’s and Class Members’

rights by failing to pay them the lawful minimum wage due under the New York Labor Law.

       59.     Defendants knowingly and willfully failed to provide proper wage statements to

Plaintiff and Class Members as required under the New York Labor Law.

       60.     Defendants knowingly and willfully failed to provide proper wage and hour

notices to Plaintiff and Class Members as required under the New York Labor Law.

       61.     Due to the Defendants’ New York Labor Law violations, Plaintiff and Class

Members are entitled to recover from Defendants unpaid overtime wages, unpaid minimum

wage, damages for unreasonably delayed payments, reasonable attorneys’ fees, liquidated

damages, statutory penalties and costs and disbursements of the action, pursuant to New York

Labor Law.




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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself, FLSA Collective Plaintiffs and Class

Members, respectfully requests that this Court grant the following relief:

       a.      A declaratory judgment that the practices complained of herein are unlawful under

               the FLSA and NYLL;

       b.      An injunction against Defendants and their officers, agents, successors, employees,

               representatives and any and all persons acting in concert with them as provided by

               law, from engaging in each of the unlawful practices, policies and patterns set forth

               herein;

       c.      An award of unpaid overtime wages due under the FLSA and NYLL;

       d.      An award of unpaid minimum wage due under the NYLL;

       e.      An award of statutory penalties as a result of Defendants’ failure to comply with the

               NYLL wage notice and wage statement requirements;

       f.      An award of liquidated damages as a result of Defendants’ willful failure to pay the

               proper overtime wages, pursuant to the FLSA;

       g.      An award of liquidated damages as a result of Defendants’ willful failure to pay the

               proper overtime wages and minimum wage, pursuant to the NYLL;

       h.      An award of pre-judgment and post-judgment interest, costs and expenses of this

               action together with reasonable attorneys’ and expert fees;

       i.      Designation of Plaintiff as Representative of the FLSA Collective Plaintiffs;

       j.      Designation of this action as a class action pursuant to F.R.C.P. 23;

       k.      Designation of Plaintiff as Representative of the Class; and

       l.      Such other and further relief as this Court deems just and proper.




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                                               JURY DEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable as of right by jury.

Dated:    November 29, 2018                      Respectfully submitted,

                                        By:      /s/ C.K. Lee
                                                 C.K. Lee, Esq.

                                                 LEE LITIGATION GROUP, PLLC
                                                 C.K. Lee (CL 4086)
                                                 Anne Seelig (AS 3976)
                                                 30 East 39th Street, Second Floor
                                                 New York, NY 10016
                                                 Tel.: (212) 465-1188
                                                 Fax: (212) 465-1181

                                                 Attorneys for Plaintiff, FLSA Collective Plaintiffs
                                                 and the Class




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